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                                                                     FILED
PAULETTE L. STEWART                                                   NOV 052015
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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR mE DISTRICT OF MONTANA
                       MISSOULA DIVISION

 UNITED STATES OF AMERICA,            CR 15- 2>@ -M- \:)\.A)'('\\

            Plaintiff,                INDICTMENT

      vs.                             ILLEGAL EXPORT; ATTEMPTED
                                      ILLEGAL EXPORT
                                      Title 18 U.S.C. §§ 2 and 554 (Counts 1-13)
 ERIC DANIEL DOYLE,                   (Penalty: Mandatory minimum five years
 JEFFREY LEE PALMER,                  to 20 years imprisonment, $250,000 fine,
 BRIAN SPAIN,                         and three years supervised release)
 T ANNA LEE MEAGHER, and
 JAY WILLIAM ISLES, Sr.,              FELON IN POSSESSION OF FIREARMS
                                      (AIDING AND ABETTING)
                                      Title 18 U.S.c. §§ 2 and 922(g)(1)
            Defendants.               (Counts 14-15)
                                      (penalty: Ten years imprisonment,
                                      $250,000 fine, and three years supervised
                                      release)

                                      STRA W PURCHASEfFALSE
                                      STATEMENT IN CONNECTION WITH
                                      A FIREARMS TRANSACTION
                                      Title 18 U.S.c. § 922(a)(6) (Count 16)
                                      (Penalty: Ten years imprisonment, $250,00
                                      fine, and three years supervised release)
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                                              TRANSFERRING FIREARMS TO A
                                              PROHIBITED PERSON
                                              Title 18 U.S.C. § 922(d)(I) (Count (7)
                                              (Penalty: Ten years imprisonment, $250,000
                                              fine, and three years supervised release)

                                              DEALING IN FIREARMS WITHOUT A
                                              LICENSE
                                              Title 18 U.S.C. § 922(a)(I)(A) (Count 18)
                                              (Penalty: Five years imprisonment,
                                              $250,000 fine, and three years supervised
                                              release)

                                              UNLA WFUL TRANSFER OF FIREARMS
                                              TO AN OUT· OF-STATE RESIDENT
                                              Title 18 U.S.C. § 922(a)(5) (Counts 19-31)
                                              (Penalty: Five years imprisonment,
                                              S250,Ooo fine, and three years supervised
                                              release)

                                              POSSESSION OF FIREARMS WITH
                                              OBLITERATED SERIAL NUMBERS
                                              Title 18 U.S.C. § 922(k) (Count 32)
                                              (Penalty: Five years imprisonment,
                                              S250,000 fine, and three years supervised
                                              release)

                                              MAILING FIREARMS
                                              Title 18 U.S.c. § 1715 (Counts 33-46)
                                              (Penalty: Two years imprisonment,
                                              $250,000 fine, and one year supervised
                                              release)

THE GRA"NTI JURY CHARGES:

                                   COUNTS 1-10

      That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER,

BRIAN SPAIN, T ANNA LEE MEAGHER, and JAY WILLIAM ISLES, Sr.,

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knowingly and unlawfully exported from the United States, any merchandise,

article, and object, contrary to any law and regulation of the United States, and did

aid and abet the same, in violation of 18 U.S.C. §§ 2 and 554, at the dates and

locations below:

Count    Date             Location            Firearm(s) in Package        Destination

1        April 15,2014 Kalispell, MT          Springfield, XD-9, 9mm       D.N. in
                                              caliber pistol, serial       Australia
                                              number US904033
2        April 15,2014 Kalispell, MT          Ruger, SR40C, .40 caliber    C.W.in
                                              pistol, serial number        Australia
                                              343-52407

3        June 23, 2014 Lakeside, MT           Taurus, PT2417 Pro, .45      D.T. in
                                              ACP caliber pistol, serial   Australia
                                              number obliterated
                                              Springfield, XD, .40
                                              caliber pistol, serial
                                              number obliterated

4        June 23, 2014 Lakeside, MT           Sturm/Ruger, Model           T.T. in
                                              Unknown .45 caliber          Australia
                                              pistol, serial number
                                              obliterated
                                              Walther, MP22, .22
                                              caliber pistol, serial
                                              number obliterated

5        June 25, 2014 Missoula, MT           Taurus, Tracker, .44         R.S. in
                                              Magnum caliber pistol,       Australia
                                              serial number obliterated
                                              Hi-Point, JCP, .40 S&W
                                              caliber pistol, serial
                                              number obliterated


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6        June 25, 2014 Missoula, MT           Taurus, Ultra Lite, .38     A.T.N. in
                                              Special Revolver, serial    Australia
                                              number obliterated
                                              Smith &Wesson, unknown
                                              model, caliber unknown,
                                              revolver, serial number
                                              obliterated
7        July 29, 2014   Browning, MT         Ruger, Blackhawk, .357      A business
                                              Magnum revolver, serial     located in
                                              number obliterated          Australia
8        July 29, 2014   Browning, MT         Jimenez Arms, 9mm           C.W. in
                                              semi-automatic pistol,      Australia
                                              serial number obliterated
9        July 29, 2014   Browning, MT         Intratec, 9mm caliber       N.H. in
                                              pistol, serial number       Sweden
                                              obliterated
10       July 29, 2014   Browning, MT         Unidentified firearm        R. in
                                                                          Norway


                                  COUNTS 11- 13

      That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER,

BRIAN SPAIN, and TANNA LEE MEAGHER, knowingly and unlawfully

attempted to export from the United States, any merchandise, article, and object,

contrary to any law and regulation of the United States, and did aid and abet the

same, in violation of 18 U.S.C. §§ 2 and 554, at the dates and locations below:




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Count       Date          Location        Firearms in Packa2e             Destination

II          June 6,       Missoula,       Walther, P22, .22 caliber       J.Y. in
            2014          MT              pistol, serial number           Australia
                                          obliterated
                                          Jimenez, J.A. 380, .380 auto
                                          caliber pistol, serial number
                                          obliterated
12          June 6,       Missoula,       Jimenez, J.A. Nine, 9 mm        c.L. in
            2014          MT              caliber pistol, serial number   Australia
                                          obliterated
                                          Radom, P-64, 9mm x 16
                                          caliber pistol, serial number
                                          AWl 0131 - serial number
                                          on the slide was obliterated
13          June 6,       Missoula,       Hi-Point, CF380, .380 ACP       M.A. in
            2014          MT              caliber pistol, serial number   Denmark
                                          obliterated


                                      COUNT 14

      That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendant, ERIC DANIEL DOYLE, having been convicted on May 5,

2006, of a crime punishable by imprisonment for a term exceeding one year under

the laws of the State of Illinois, knowingly and unlawfully possessed, in and

affecting interstate commerce, the firearms listed below, and was aided and abetted

in the same by defendants, TANNA LEE MEAGHER and BRIAN LEE SP AlN, all

in violation of 18 U.S.C. §§ 2 and 922(g)(l).   Those firearms include the firearms

listed in Counts 1 through 13 listed above as well as:

                                          5
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 •   Glock,20, 10mm semi-automatic pistol, serial number UWM096;

 •   Glock,20C, IOmm semi-automatic pistol, serial number SMA847;

 •   Glock,29, IOmm semi-automatic pistol, serial number l..JFU683;

 • Glock, 29, IOmm semi-automatic pistol, serial number UFU682;

 •   Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

     obliterated;

 • Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

     obliterated;

 •   Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

     obliterated;

 •   Jimenez Arms, lA. Nine, 9mm semi-automatic pistol, serial number

     obliterated;

 • Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

     obliterated;

 •   Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

     obliterated;

 •   Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

     obliterated;




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         • Jimenez Arms, lA. 22, .22 LR semi-automatic pistol, serial number

             obliterated;

         • Jimenez Arms, lA. 22, .22 LR semi-automatic pistol, serial number

             obliterated;

         • Jimenez Arms, lA. 22, .22 LR semi-automatic pistol, serial number

             obliterated; and

         • Jimenez Arms, lA. 22, .22 LR semi-automatic pistol, serial number

             obliterated.

                                       COUNT 15

      That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendant, JEFFREY LEE PALMER, having been convicted on

December 13, 1999, of a crime punishable by imprisonment for a term exceeding

one year under the laws of the State of Texas, knowingly and unlawfully possessed,

in and affecting interstate commerce, the firearms listed below, in violation of

18 U.S.C. § 922(g)(I).      Those firearms include the firearms listed in Counts 11

through 13 listed above as well as:

         • Taurus, PT840, .40 caliber pistol, serial number SEM38936;

         • Hi-Point Firearms, 4595, .45 caliber ACP semi-automatic rifle, serial

             number R09597; and

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         • Bear Creek Arsenal, BCAI5, .223/5.56 caliber semi-automatic rifle,

             serial number 01918.

                                    COUNT 16

      That on or about June 16,2014, in Flathead County, in the State and District

of Montana, the defendant, T ANNA LEE MEAGHER, in connection with her

acquisition of the firearms listed below from Richard Morken, a licensed firearms

dealer, knowingly made a false and fictitious written statement to that dealer which

statement was likely to deceive Richard Morken, as to a fact material to the

lawfulness of such acquisition of the said firearm by the defendant under chapter 44

of Title 18, of the United States Code, that is, the defendant represented on an ATF

Firearms Transaction Record form 4473 that she was the "actual buyer," when in

truth and in fact, as the defendant then well knew, she was purchasing the firearms

on behalf of Eric Doyle, in violation of 18 U.S.C. § 922(a){6), and the defendant,

ERIC DANIEL DOYLE, did aid in abet in the same, in violation of 18 U.S.C. § 2.

The firearms are:

         • Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

             307962;

         • Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

             306260;



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• Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

   306265;

• Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

   307430;

• Jimenez Arms, J.A. 380, .380 semi-automatic pistol, serial number

   288163;

• Jimenez Arms, J.A. 22, .22 semi-automatic pistol, serial number

   1236669;

• Jimenez Arms, J.A. 22, .22 semi-automatic pistol, serial number

   1236668;

• Jimenez Arms, J.A. 22, .22 semi-automatic pistol, serial number

   1236666;

• Jimenez Arms, lA. 22, .22 semi-automatic pistol, serial number

   1237686;

• Jimenez Arms, lA. 22, .22 semi-automatic pistol, serial number

   123683;

• Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

   302861 ;




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         • Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

             302872;

         • Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

             303740;

         • Jimenez Arms, lA. Nine, 9mm semi-automatic pistol, serial number

             303741; and

         • Jimenez Arms, J.A. Nine, 9mm semi-automatic pistol, serial number

             303785.

                                    COUNT 17

      That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacie~ Counties, in the State and District of

Montana, the defendant, BRIAN SPAIN, knowingly and unlawfully sold and

otherwise transferred the firearms listed below to Eric Daniel Doyle knowing and

having reasonable cause to believe that Eric Daniel Doyle was previously convicted

of a crime punishable by a term of imprisonment exceeding one year, in violation of

18 U.S.c. § 922(d)(i).   The fireanns are:

         • Glock, 20, 10mm semi -auto pistol, serial number UWM096;

         • Glock, 20C, IOmm semi-auto pistol, serial number SMA847;

         • Glock, 29, 10mm semi-auto pistol, serial number UFU683; and

         • Glock, 29, 10mm semi-auto pistol, serial number UFU682.

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                                     COUNT 18

       That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER, and

BRIAN SPAIN, willfully engaged in the business of dealing in firearms without

being a licensed dealer of firearms, in violation of 18 U.S.C. § 922(a)(I)(A).

                                   COUNTS 19-31

       That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER, and

BRIAN SPAIN, not being licensed dealers of firearms within the meaning of

Chapter 44, Title 18, United States Code; did willfully sell firearms, listed below, to

others, who were not licensed dealers in firearms, and said defendant knew and had

reasonable cause to believe that the others also listed below were not residing in the

State of Montana, the state in which the defendant was residing at the time of the

aforesaid sale, in violation of 18 U.S.C. § 922(a)(5), as previously listed in Counts I

through 13 above:

Count    Date             Location             Firearm(s) in Package      Destination

1119     April 15,2014 Kalispell, MT           Springfield, XD-9, 9mm     D.N. in
                                               caliber pistol, serial     Australia
                                               number US904033

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-_.-----­
 2/20           April 15,2014 Kalispell, MT        Ruger, SR40C, 040 caliber    C.W. in
                                                   pistol, serial number        Australia
                                                   343-52407
 3/21           June 23, 2014       Lakeside, MT   Taurus, PT2417 Pro, 045      D.T. in
                                                   ACP caliber pistol, serial   Australia
                                                   number obliterated
                                                   Springfield, XD, AO
                                                   caliber pistol, serial
                                                   number obliterated
 4/22           June 23, 2014       Lakeside, MT   SturmlRuger, Model           T.T. in
                                                   Unknown A5 caliber           Australia
                                                   pistol, serial number
                                                   obliterated
                                                   Walther, MP22, .22
                                                   caliber pistol, serial
                                                   number obliterated
 5/23           June 25, 2014       Missoula, MT   Taurus, Tracker, .44         R.S. in
                                                   Magnum caliber pistol,       Australia
                                                   serial number obliterated
                                                   Hi-Point, JCP, AO S&W
                                                   caliber pistol, serial
                                                   number obliterated
 6/24           June 25, 2014       Missoula, MT   Taurus, Ultra Lite, .38      A.T.N. in
                                                   Special Revolver, serial     Australia
                                                   number obliterated
                                                   Smith &Wesson, unknown
                                                   model, caliber unknown,
                                                   revolver, serial number
                                                   obliterated
 7/25           July 29, 2014       Browning, MT Ruger, Blackhawk, .357         A business
                                                   Magnum revolver, serial      located in
                                                   number obliterated           Australia
 8/26           July 29,2014        Browning, MT Jimenez Anns, 9mm              C.W. in
                                                   semi-automatic pistol,       Australia
                                                 •serial number obliterated
 9/27           July 29,2014        Browning, MT Intratec, 9mm caliber          N.H. in
                                                   pistol, serial number        Sweden
                                                 • obliterated

            •

                                •




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. 10/28 . July 29, 2014 . Browning, MT . Unidentified fireann                • R. in
                                                                             . Norway
 11129      June 6, 2014   Missoula, MT        Walther, P22, .22 caliber       J.Y. in
                                               pistol, serial number           Australia
                                               obliterated
                                               Jimenez, lA. 380, .380
                                               auto caliber pistol, serial
                                               number obliterated
 12/30      June 6, 2014   Missoula, MT        Jimenez, lA. Nine, 9 mm        C.L. in
                                               caliber pistol, serial         Australia
                                               number obliterated
                                               Radom, P-64, 9mm x 16
                                               caliber pistol, serial
                                               number A WI 0 131 - serial
                                               number on the slide was
     _.                                        obliterated
 13/31      June 6,2014    Missoula, MT        Hi-Point, CF380, .380          M.A. in
                                               ACP caliber pistol, serial     Denmark
                                               number obliterated


                                      COUNT 32

          That between approximately January 2014 and continuing until September

 2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

 Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER, and

BRIAN SPAIN, knowingly possessed fireanns with obliterated serial numbers,

listed below, that had been shipped and transported in interstate commerce, from

which the manufacturer's serial numbers had been removed, altered, and

obliterated, in violation of 18 U.S.C. § 922(k); those fireanns are listed above in

Counts 3-14 of this Indictment.


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                                  COUNTS 33-46

       That between approximately January 2014 and continuing until September

2014, in Flathead, Missoula, and Glacier Counties, in the State and District of

Montana, the defendants, ERIC DANIEL DOYLE, JEFFREY LEE PALMER,

BRIAN SPAIN, T ANNA LEE MEAGHER, and JAY WILLIAM ISLES Sr.,

knowingly deposited for mailing and caused to be delivered by mail, any pistol and

firearm declared non-mailable, and did aid and abet in the same, in violation of

18 U.S.C. §§ 2 and 1715, as previously listed in Counts 1 through 13 above:

Count Date               Location             Firearm(s) in Package        Destination

1133     April 15,2014 Kalispell, MT          Springfield, XD-9, 9mm       D.N. in
                                              caliber pistol, serial       Australia
                                              number US904033
2/34     April 15,2014 Kalispell, MT          Ruger, SR40C, .40 caliber    C.W. in
                                              pistol, serial number        Australia
                                              343-52407
3/35     June 23,2014 Lakeside, MT ,          Taurus, PT2417 Pro, .45      D.T. in
                                              ACP caliber pistol, serial   Australia
                                              number obliterated
                                              Springfield, XD, .40
                                              caliber pistol, serial
                                              number obliterated

4/36     June 23,2014 Lakeside, MT         SturmlRuger, Model              T.T. in
                                           Unknown .45 caliber             Australia
                                           pistol, serial number
                                           obliterated
                                           Walther, MP22, .22
                                           caliber pistol, serial
                                           number obliterated


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    5/37         June 25, 2014 Missoula, MT         Taurus, Tracker, .44          R.S. in
                                                    Magnum caliber pistol,        Australia
                                                    serial number obliterated
                                                    Hi-Point, JCP, .40 S& W
                                                    caliber pistol, serial
             •
                                                  •number obliterated
    6/38     • June 25,2014 Missoula, MT          I Taurus, Ultra Lite, .38     I A.T.N. in
                                                    Special Revolver, serial      Australia
                                                    number obliterated
                                                    Smith &Wesson, unknown
                                                    model, caliber unknown,
                                                    revolver, serial number
                                                    obliterated
7139             July 29,2014     Browning, MT      Ruger, Blackhawk, .357        A business
                                                    Magnum revolver, serial       located in
                                                    number obliterated            Australia
    8/40         July 29,2014     Browning, MT      Jimenez Arms, 9mm             C.W. in
                                                    semi-automatic pistol,        Australia
                                                    serial number obliterated
I
    9/41              ':19 2014 , Browning, MT
                 July -,                            lntratec, 9mm caliber         N H in
                                                    pistol, serial number         Sweden
             ,                                    ! obliterated
    lO/42        July 29, 2014    Browning, MT    • Unidentified firearm          R. in
~~~~~                                             •                             , Norway
    J 1143       June 6, 2014     Missoula, MT      Walther, P22, .22 caliber     J.Y. in
                                                    pistol, serial number         Australia
                                                    obliterated
                                                    Jimenez, LA. 380, .380
                                                    auto caliber pistol, serial
                                                    number obliterated
    12/45    I June 6, 2014      • Missoula, MT     Jimenez, J.A. Nine, 9 mm c.L. in
                                                    caliber pistol, serial        Australia
                                                    number obliterated
                                                    Radom, P-64, 9mm x 16
                                                    caliber pistol, serial
                                                    number AW 10 131 - serial
                                                    number on the slide was
                                                    obliterated
                                                                     --------------~   ......



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13/46     June 6, 2014   Missoula, MT          Hi-Point, CF380, .380               M.A. in
                                               ACP caliber pistol, serial          Denmark
                                               number obliterated


        A TRUE BILL.            Foreperson signature redacted. Original document filed under seal.




United States Attorney



JOSEPH E. THAGGARD
Criminal Chief Assistant U.S. Attorney




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